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        Exhibit 3 to
Declaration of Mark C. Mao
 ISO Plaintiffs’ Unopposed
Motion for Final Approval of
  Class Action Settlement
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                    UNITED STATES DISTRICT COURT CERTIFIED COPY

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable YVONNE GONZALEZ ROGERS, Judge

CHASOM BROWN, WILLIAM BYATT,)              Motions Hearing
JEREMY DAVIS, CHRISTOPHER   )
CASTILLO, and MONIQUE       )
TRUJILLO, individually and )
on behalf of all similarly )
situated,                   )
                            )
            Plaintiffs,     )
                            )
  vs.                       )              NO. C 20-03664 YGR (SVK)
                            )
GOOGLE LLC,                 )              Pages 1 - 113
                            )
            Defendant.      )              Oakland, California
____________________________)              Friday, May 12, 2023


               REPORTER'S TRANSCRIPT OF PROCEEDINGS

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                 (Appearances continued next page)

Reported By:              Raynee H. Mercado, CSR No. 8258


    Proceedings reported by electronic/mechanical stenography;
transcript produced by computer-aided transcription.
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     Case 4:20-cv-03664-YGR Document 1097-6 Filed 04/01/24 Page 3 of 7   2

 1                     A P P E A R A N C E S (CONT'D.)

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 1               (Proceedings were concluded at 3:35 P.M.)

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 4                          CERTIFICATE OF REPORTER

 5

 6              I certify that the foregoing is a correct transcript

 7   from the record of proceedings in the above-entitled matter.

 8   I further certify that I am neither counsel for, related to,

 9   nor employed by any of the parties to the action in which this

10   hearing was taken, and further that I am not financially nor

11   otherwise interested in the outcome of the action.

12

13                   ___________________________________

14             Raynee H. Mercado, CSR, RMR, CRR, FCRR, CCRR

15                           Saturday, June 3, 2023

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